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                      UNITED STATES DISTRICT COURT
                           DISTRICT OF NEW JERSEY


 UNITED STATES OF AMERICA                 :
                                          :   Crim. No. 00-323-01 (KSH)
          v.                              :
                                          :   DECISION ON ELIGIBILITY FOR
 RODNEY MACK                              :   SENTENCE REDUCTION UNDER THE
                                          :   FIRST STEP ACT

       Before the Court are four motions filed by defendants Rodney Mack, his brother

Ronald Mack, Jesse Opher, and Hassan Hawkins (the “Mack defendants”) for reduced

sentences under § 404 of the First Step Act, Pub. L. No. 115-391, 132 Stat. 5194 (2018).

(D.E. 530; D.E. 532; D.E. 534; D.E. 536.) The government has opposed (D.E. 547),

and defendants have replied (D.E. 550; D.E. 551; D.E. 552; D.E. 553). The Court held

oral argument on the motions on June 21, 2019. On June 24, 2019, the government

filed a memorandum (D.E. 556) that further addressed certain issues identified at

argument.

       The focus of the briefing and the extensive argument before the Court is these

defendants’ eligibility for reduced sentences under the First Step Act, and if eligible, the

scope and manner of resentencing/sentence reduction. Deciding these issues requires

examination of both the First Step Act and a predecessor, the Fair Sentencing Act.
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I.    The Fair Sentencing Act

      On August 3, 2010, the Fair Sentencing Act, Pub L. No. 111-220, 124 Stat. 2372

(2010), was passed. It is self-described as “An Act To restore fairness to Federal cocaine

sentencing.” It reached into the 1986 Controlled Substances Act and changed statutory

penalties by increasing the quantity of crack cocaine that would trigger a mandatory

minimum sentence. Whereas the Controlled Substances Act mandated a minimum

sentence of five years for possession with intent to distribute or distribution of 5 or

more grams of crack cocaine, now the offense had to involve 28 grams or more. The

triggering quantity of crack cocaine for a mandatory ten-year sentence was increased

from 50 to 280 grams. This reduced the sentencing disparity between powder and crack

cocaine from 100:1 down to 18:1. 1

      Section 8 of the Fair Sentencing Act directed the United States Sentencing

Commission (“the Commission”) to implement the penalty changes swiftly.

             The United States Sentencing Commission shall—

             (1) promulgate the guidelines, policy statements, or
             amendments provided for in this Act as soon as practicable,
             and in any event not later than 90 days after the date of
             enactment of this Act . . . ; and

             (2) pursuant to the emergency authority provided under
             paragraph (1), make such conforming amendments to the

1
 The Act further eliminated mandatory minimum sentences for simple possession of
crack cocaine, which had been a term of five years if the quantity was 5 grams or more,
plus a sliding scale of mandatory minimums for lesser quantities in the event the accused
had prior drug convictions.

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              Federal sentencing guidelines as the Commission determines
              necessary to achieve consistency with other guideline
              provisions and applicable law.

Thus the Commission was under orders to change the guidelines in order to implement

the Act, and it did.

       Integral to the Commission’s process of implementation is the interplay between

the federal sentencing guidelines, specifically the Drug Quantity Table, U.S. Sentencing

Guidelines Manual § 2D1.1(c) (2018), and the statutory penalties for drug offenses. As

the United States Supreme Court noted in United States v. Dorsey, 567 U.S. 260 (2012),

the “entire set of crack and powder cocaine offense levels” in § 2D1.1 was adopted by

using the two five- and ten-year minimum amounts in the 1986 Controlled Substances

Act “as reference points and then extrapolating from those two amounts upward and

downward to set proportional offense levels for other drug amounts.” Id. at 268 (citing

Kimbrough v. United States, 551 U.S. 85, 97 (2007)).

       And so consistent with the Congressional mandate in the Fair Sentencing Act,

the Commission adopted amendment 750 that assigned lower base offense levels for

the new trigger amounts of 28 grams and 280 grams of crack, which the Commission

made retroactive. Then again in 2014, the Commission adopted amendment 782, which

further reduced by two levels the base offense levels assigned to many drug quantities

(known colloquially as the “drugs minus two” amendment), and it made those changes

retroactive as well. According to the Commission, “amendment [782] revises the

guidelines applicable to drug trafficking offenses by changing how the base offense
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levels in the Drug Quantity Table in § 2D1.1 . . . incorporate the statutory mandatory

minimum penalties for such offenses.” U.S. Sentencing Guidelines Manual supp. to

app. C, Amend. 782, cmt. (2018).

      Direction on applying the amendments retroactively was set forth in a policy

statement in the guidelines, U.S. Sentencing Guidelines Manual § 1B1.10, requiring that

the mechanics of changing sentences already reduced to judgment be consistent with

the provisions of 18 U.S.C. § 3582(c)(2). In determining whether and to what extent a

defendant would receive a sentence reduction, § 1B1.10(b) directs that “the court shall

substitute only the amendments listed in subsection (d) [a list of amendments that

includes 750 and 782] for the corresponding guideline provisions that were applied

when the defendant was sentenced and shall leave all other guideline application

decisions unaffected.” If the amended base level attributable to the drug offense did

not lower a sentenced defendant’s overall guidelines range, then sentencing relief would

not be available; also, any sentence reduction would not constitute a full resentencing.

According to the application notes to § 1B1.10(a), “a reduction in the defendant’s term

of imprisonment is not authorized under 18 U.S.C. § 3582(c)(2) and is not consistent

with this policy statement if: (i) none of the amendments listed in subsection (d) is

applicable to the defendant; or (ii) an amendment listed in subsection (d) is applicable

to the defendant but the amendment does not have the effect of lowering the

defendant’s applicable guideline range because of the operation of another guideline or

statutory provision (e.g., a statutory mandatory minimum term of imprisonment).”
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Assuming eligibility, “consistent with 18 U.S.C. § 3582(c)(2), the court shall consider

the factors set forth in 18 U.S.C. § 3553(a) in determining: (I) whether a reduction in

the defendant’s term of imprisonment is warranted; and (II) the extent of such

reduction, but only within the limits described in subsection (b).”

      The foregoing establishes that for those who were already sentenced when the

Fair Sentencing Act passed, responsive guideline amendments could achieve a sentence

reduction under defined circumstances. And indeed, a swath of incarcerated men and

women received lowered sentences, but that only happened if the amended base offense

level served to reduce their overall guidelines sentencing range. The tie-in was critical.

See, e.g., United States v. Thompson, 714 F.3d 946, 950 (6th Cir. 2013) (“Because the

amendment in question has no effect on the ultimate sentencing range imposed on

Thompson under the career offender guidelines, the district court did not err in

declining to grant his § 3582(c)(2) motion.”); United States v. Andros, 507 F. App’x 725,

726 (9th Cir. 2013) (“Andros’ pre-variance applicable guideline range was his career

offender range under U.S.S.G. § 4B1.1. The Sentencing Commission’s amendments to

the Guidelines have not lowered that guideline range. Andros is therefore ineligible for

a reduction of sentence.” (citation omitted)); United States v. Wilson, 515 F. App’x 877,

881 (11th Cir. 2013) (“Amendment 750, which only affected the drug quantity tables in

§ 2D1.1, had no effect on Wilson’s guideline sentence, and the district court was not

authorized to grant him § 3582(c)(2) relief.”); United States v. Mabry, 481 F. App’x 797,

798 (3d Cir. 2012) (“As a career offender, Mabry’s applicable Guideline range remains
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unchanged. Thus, . . . the District Court did not abuse its discretion in denying Mabry’s

motion.”); United States v. Barlow, No. 06-694, 2017 WL 10242240, at *3 (D.N.J. Sept.

28, 2017) (Wolfson, J.) (“Thus, even if Amendment 782 had affected the guidelines

under which Defendant Barlow was sentenced, and lowered the initially calculated

guideline range, the Amendment would nevertheless have been irrelevant to

Defendant’s ultimate sentence, because the final guideline range under which he was

sentenced would have remained the same mandatory minimum sentence required by

law.”).

          Implicit in this approach is how sentences for cocaine crimes are calculated. The

driver is the drug and how much of it the defendant trafficked in. Once admitted to or

calculated in a defendant’s presentence report, the Drug Quantity Table, § 2D1.1(c),

sets the base offense level. For example, when Rodney Mack was sentenced in 2002,

the quantity of crack cocaine the presentence report attributed to his criminal conduct

was between 1.5 to 5 kilograms. That weight of that drug on its own produced the

highest base offense level, 38. 2 With other enhancements found by the Court, Rodney

Mack’s adjusted offense level rose to 46, and he was sentenced to Life under the

guidelines, which set a life sentence across all criminal history categories at the adjusted


2
  Under the Drug Equivalency Tables, the total combined weight of drugs ascribed in
their presentence reports to Rodney Mack and the other Mack defendants was between
41,000 to 133,000 kg of marijuana, calculated by converting the drug quantities
determined by U.S. Probation: 50 to 150 kg of cocaine (10,000 to 30,000 kg of
marijuana); 1.5 to 5 kg of crack (30,000 to 100,000 kg of marijuana); and 1 to 3 kg of
heroin (1,000 to 3,000 kg of marijuana).
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offense level 43. Albeit amendment 750 and an earlier amendment 706 were adopted

and applied retroactively, they did not serve to change the guideline mandated life

sentence.3 Only when the drugs minus two amendment 782 was adopted, lowering by

two the base offense levels for drug offenses, see United States v. Thompson, 825 F.3d 198,

202 (3d Cir. 2016) (“[I]n 2014, the Sentencing Commission promulgated Amendment

782 to the Guidelines, which retroactively reduced by two levels the base offense levels

assigned to many drug quantities in the Drug Guidelines.”), did Rodney Mack’s overall

sentencing exposure drop below Life. At adjusted offense level 42, his guidelines

exposure became 360 months to life.

      Even though the Fair Sentencing Act substantially changed statutory penalties

for the offenses charged against the Mack defendants, it was quickly and universally

concluded that the Act would not be given retroactive effect. See United States v. Reevey,

631 F.3d 110, 111 (3d Cir. 2010) (“answer[ing] the question” of whether the Fair

Sentencing Act” applies retroactively “in the negative”); United States v. Blewett, 746 F.

3d 647, 650 (6th Cir. 2013) (en banc) (“(1) [T]he Fair Sentencing Act’s new mandatory

minimums do not apply to defendants sentenced before it took effect; (2) § 3582(c)(2)

does not provide a vehicle for circumventing that interpretation; and (3) the

Constitution does not provide a basis for blocking it.”). The same measured and


3
 Pursuant to Amendment 750 and 706, Rodney Mack’s offense level for the total drug
weight attributable to his criminal conduct was reduced to 36. With enhancements, his
new adjusted offense level was 44, which still produced a life sentence under the
guidelines.
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cabined application of Fair Sentencing Act sentence changes was applied to Ronald

Mack’s and Jesse Opher’s life sentences. Their sentences are now 360 months, see infra.

II.    The First Step Act

       On December 21, 2018, Congress passed the First Step Act. It covered a broad

range of topics related to incarceration and re-entry, for example recidivism reduction

(Section I); a variety of prisoner welfare and re-entry initiatives (Sections II, III, V, and

VI); and relevant here sentencing reform (Section IV).

       Shortly after passage of the First Step Act, the Commission’s Office of

Education and Sentencing Practice issued a Special Edition publication on the new

statute. From the introductory paragraphs:

              The First Step Act (P.L. 115-391) was signed into law by the
              President on December 21, 2018. The Act deals mostly with
              reentry of the incarcerated, directing the Federal Bureau of
              Prisons to take specific actions regarding programming,
              good-time credit, and compassionate release, among other
              issues. The Act does not contain any directives to the
              Commission.

              Related to its sentencing reform provisions (Title IV), the
              Act makes important changes to mandatory minimum
              penalties and to the safety valve provision (a provision that
              allows courts to sentence a defendant without regard to the
              mandatory minimum). Specifically, in relation to Title IV,
              the Act:

               • reduces certain enhanced mandatory minimum penalties
                 for some drug offenders (Section 401);




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              • broadens the existing safety valve at 18 U.S.C. § 3553(f),
                increasing the number of offenders eligible for relief
                from mandatory minimum penalties (Section 402);

              • reduces the severity of the “stacking” of multiple §
                924(c) offenses (Section 403); and

              • applies retroactively the Fair Sentencing Act of 2010
                which reduced mandatory minimum penalties for crack
                cocaine offenses (Section 404).

ESP Insider Express Special Edition First Step Act, United States Sentencing Commission

Office of Education & Sentencing Practice, at 1 (Feb. 2019), available at

https://www.ussc.gov/sites/default/files/pdf/training/newsletters/2019-

special_FIRST-STEP-Act.pdf (hereinafter “Special Edition”).

      Section 404 of the First Step Act provides in full as follows:

             SEC. 404. APPLICATION OF FAIR SENTENCING
             ACT.

             (a) DEFINITION OF COVERED OFFENSE.—In this
             section, the term “covered offense” means a violation of a
             Federal criminal statute, the statutory penalties for which
             were modified by section 2 or 3 of the Fair Sentencing Act
             of 2010 (Public Law 111–220; 124 Stat. 2372), that was
             committed before August 3, 2010.

             (b) DEFENDANTS PREVIOUSLY SENTENCED.—A
             court that imposed a sentence for a covered offense may, on
             motion of the defendant, the Director of the Bureau of
             Prisons, the attorney for the Government, or the court,
             impose a reduced sentence as if sections 2 and 3 of the Fair
             Sentencing Act of 2010 (Public Law 111–220; 124 Stat.
             2372) were in effect at the time the covered offense was
             committed.


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                 (c) LIMITATIONS.—No court shall entertain a motion
                 made under this section to reduce a sentence if the sentence
                 was previously imposed or previously reduced in accordance
                 with the amendments made by sections 2 and 3 of the Fair
                 Sentencing Act of 2010 (Public Law 111–220; 124 Stat.
                 2372) or if a previous motion made under this section to
                 reduce the sentence was, after the date of enactment of this
                 Act, denied after a complete review of the motion on the
                 merits. Nothing in this section shall be construed to require
                 a court to reduce any sentence pursuant to this section.

 Pub. L. No. 115-391, 132 Stat. 5194 (2018).

 III.     Defendants’ Eligibility Under the First Step Act – The Arguments

          The pending motions were brought by the Office of the Federal Public Defender

 on behalf of the Mack defendants, and as indicated, the government opposes on the

 basis of eligibility. By way of background, the Mack defendants and one other

 defendant4 went to trial in September 2001 on a one-count indictment charging a

 conspiracy to traffic in 5 kilograms or more of powder, and 50 grams or more of crack

 cocaine. The indictment when handed down named six additional defendants, all of

 whom entered pleas, some entering into cooperation agreements under which they gave

 testimony during the three-month trial. The jury made identical findings as to the

 defendants who went to trial: all were guilty of the conspiracy to distribute and possess

 with intent to distribute cocaine and cocaine base, and the United States proved that

 the conspiracy involved 5 kilograms or more of cocaine and 50 grams or more of

 cocaine base.


 4
     Maurice Riley received a sentence of 210 months and has since been released.
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        Sentencing enhancements under the then mandatory guidelines produced life

 sentences for the Macks and Jesse Opher. Hawkins was sentenced to a term of 360

 months to life. After the Commission adopted the drugs minus two guidelines

 amendment 782 discussed above, the guidelines range for the Macks and Opher

 dropped to 360 months to life. In 2017 by agreement between the government and the

 public defender, who represented the four Mack defendants for purposes of calculating

 the amended guidelines, their sentence became 360 months.

        Turning to the parties’ dispute about the Mack defendants’ eligibility for reduced

 sentences, the Court notes that a Westlaw search turns up a multitude of written

 decisions from the last three months resolving applications for sentencing relief under

 the First Step Act. The decisions run the gamut in terms of process: in some, the

 sentenced defendants are represented, in others the applications are made pro se and

 the only filings are the defendant’s application and the government’s opposition. Some

 decisions describe court proceedings where the defendants are present in court. Some

 decisions are written by the judge who rendered the original sentence; in others the

 sentencing judge was long gone.

        The government’s opposition in these cases most frequently rests on the offense

 conduct – did the defendant plead to, or get convicted of, trafficking in a drug quantity

 that matches or exceeds the triggering quantities in the amended statutory penalties? If

 so, the government argues there is no available relief. See, e.g., United States v. Boulding,

 379 F. Supp. 3d 646, 651 (W.D. Mich. 2019) (“The government argues that a defendant
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 is eligible for consideration only if his actual offense conduct quantities fall below the

 statutory thresholds of the Fair Sentencing Act.”); United States v. Valentine, No. 99-01-

 2, 2019 WL 2754489, at *5 (W.D. Mich. July 2, 2019) (another decision by the Boulding

 court discussing and ultimately rejecting “the government’s view, which ties eligibility

 to quantity”); United States v. Johnson, No. 01-543, 2019 WL 2590951, at *2 (N.D. Ill.

 June 24, 2019) (“The Government argues that Johnson is not eligible for relief under

 the First Step Act because ‘the record confirms’ that the quantity of crack cocaine

 ‘involved’ in Johnson’s offense was over 280 grams, such that the Fair Sentencing Act

 would not have modified the applicable statutory penalty.”); United States v. Rose, 379 F.

 Supp. 3d 223, 228 (S.D.N.Y. 2019) (“The Government argues that the Court should

 assess eligibility on the basis of Defendants’ actual conduct, rather than the statute of

 conviction.”).

       The choice, then, is between finding eligibility based on the statute of conviction

 vs. finding eligibility based on the offense conduct, that is the quantity of the drug a

 defendant distributed or possessed with the intent to distribute. In the case at bar, the

 government focuses on offense conduct, but its very specific argument is that the jury

 found the Mack defendants also trafficked in a quantity of powder cocaine that

 triggered statutory penalties under the Controlled Substances Act that the Fair

 Sentencing Act did not change. Five or more kilograms of powder cocaine continue to

 be punished by a mandatory minimum sentence of ten years. For this reason, the

 government argues the Mack defendants were not sentenced under “a covered statute,”
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 defined in § 404 as one whose statutory penalties have changed. From the government’s

 opposing brief:

              Their motions rely on a fiction: that they are eligible for a
              reduced sentence even though the statutory penalties for a
              single conspiracy to distribute both cocaine (“powder
              cocaine”) and cocaine base (“crack cocaine”) have not
              changed. Facts control here, not fiction, and those facts
              make Defendants ineligible for the relief they seek.

 (D.E. 547 at 1.)

       The Mack defendants reply that the plain language of § 404 does not permit this

 argument because the Fair Sentencing Act changed the statutory penalties of the statute,

 21 U.S.C. § 841(b)(1)(A), that they were convicted under. As such, they contend the

 Court may reduce their sentences, and in deciding whether to do that the Court may

 consider the quantity of powder cocaine that the jury found they were guilty of

 trafficking in. Pressed to respond to the government’s position that the statutory

 penalty for 5 kilograms of cocaine had not changed under the Fair Sentencing Act,

 counsel for the defendants stood firm:

              Again, I think that is something [the government] can bring
              up as part of, what I call, the discretion of whether the Court
              should reduce. But I don’t think it stands in the way of
              eligibility by reason of the plain language of the statute.

 (6/21/19 Tr. at 71:24-72:3.)

       At the time the motions were argued, a few cases had found defendants ineligible

 for the reason espoused by the government, beginning with Judge Cameron Currie’s

 decision in United States v. Westbrook, No. 09-714-2, 2019 WL 1542571 (D.S.C. Apr. 9,
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 2019), and continuing with her decision in United States v. Gravatt, No. 01-736-01, 2019

 WL 2366587 (D.S.C. June 5, 2019), on which the government has relied. 5 In each, the

 defendant had pleaded guilty. See Westbrook, 2019 WL 1542571, at *3 (“The record

 reflects Defendant agreed to plead guilty and did plead guilty to conspiracy to possess

 with intent to distribute five kilograms or more of cocaine. . . . His statutory penalty

 was not therefore controlled by the 50 grams or more of cocaine base charged in Count

 1.”); Gravatt, 2019 WL 2366587, at *2 (“The First Step Act amended penalties for

 cocaine base, but not cocaine. Because Defendant also admitted guilt to a cocaine

 offense carrying the same penalty, he is not eligible for relief.”); Dewitt, 2019 WL

 2537292, at *4 (concluding that defendant was not eligible for relief under the First

 Step Act because “the threshold amount of heroin for that sentence was one kilogram

 at the time Dewitt pleaded guilty and the threshold for cocaine was five kilograms” for

 a sentence of between ten years and life imprisonment, which had not been affected by

 the Fair Sentencing Act); Smith, 2019 WL 2330482, at *1 (“In the factual basis of his

 plea agreement, Defendant admitted that ‘over the years, the Defendant purchased and

 redistributed over 150 kilograms of cocaine” and that ‘[t]he amount of cocaine base

 distributed by the Defendant during the period of the conspiracy greatly exceeded 1.5

 kilograms.’” (alteration in original)).



 5
  A few other courts have reached a similar conclusion. See, e.g., United States v. Dewitt,
 No. 12-183, 2019 WL 2537292 (S.D. Ohio June 20, 2019); United States v. Smith, No.
 02-448, 2019 WL 2330482 (M.D. Fla. May 31, 2019).
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       Very recently the Court of Appeals for the Fourth Circuit affirmed without

 comment an order denying a § 404 application. United States v. Jones, No. 19-6735, 2019

 WL 3250281 (4th Cir. July 19, 2019); see also United States v. Jones, No. 05-00083 (D.S.C.

 Apr. 29, 2019), ECF No. 74. The district judge wrote as follows:

              To be eligible for relief under the First Step Act, a defendant
              must have been convicted of a “covered offense” committed
              before August 3, 2010. The term “covered offense” is
              defined in the First Step Act as a violation of a Federal
              criminal statute, the statutory penalties for which were
              modified by section 2 or 3 of the Fair Sentencing Act of
              2010. The Fair Sentencing Act did not reduce the statutory
              penalties associated with convictions involving 500 grams or
              more of cocaine nor did it affect the statutory penalties for a
              § 924(c)(1) conviction.

              In this case, Defendant pled guilty to counts one and three
              of the indictment. Count one alleged possession with intent
              to distribute 5 grams or more of cocaine base and 500 grams
              or more of cocaine. Count three alleged possession of a
              firearm in furtherance of a drug trafficking crime. Defendant
              does not qualify for a reduced term of imprisonment because
              his offense of conviction is not a “covered offense” under
              the First Step Act.

              Additionally, the First Step Act does not require the court to
              reduce the Defendant’s sentence. Section 404(c), First Step
              Act of 2018, Pub. L. No. 115-391, 132 Stat. 5194 (stating
              “[n]othing in this section shall be construed to require a
              court to reduce any sentence pursuant to this section”).
              Thus, even if Defendant is technically eligible for
              consideration of a reduced sentence, the Court would
              exercise its discretion under the First Step Act and deny
              Defendant’s motion for a reduced sentence because his
              conviction involves 500 grams or more of powder cocaine
              and his statutory penalties remain the same after application
              of the Fair Sentencing Act.

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 Jones, No. 05-00083, ECF No. 74.

        The district judge’s decision turned on his discretion to deny Jones’s § 404

 application, finding that “even if Defendant is technically eligible for consideration of

 a reduced sentence” he could and would deny relief. In context, the “technical

 eligibility” is precisely the issue here. Moreover, this case involves a jury’s guilty verdict

 while the aforementioned cases all involve guilty pleas.6

        The operative consideration in these cases is offense conduct and how it

 supports the charging decision to prosecute for both powder and crack cocaine. How

 much powder cocaine and how much crack cocaine did the defendant deal in?

 Confronting the same question, United States v. Richardson, No. 07-155, 2019 WL

 3017057 (D.S.C. July 10, 2019), came to a different conclusion. Hassan Richardson

 pleaded guilty to one count charging him and others with conspiracy to possess with

 intent to distribute and distribute 50 grams or more of cocaine base (commonly known

 as “crack”) and 5 kilograms or more of cocaine (the same charge in this case). In



 6
   As a matter of interest, Judge Currie’s latest decision on this subject, United States v.
 Williams, No. 02-548-03, 2019 WL 3251520 (D.S.C. July 19, 2019), grants relief even
 after a jury found Williams guilty on various counts in an indictment, including a
 straight-up count of selling a triggering quantity of cocaine powder. She analyzed on
 grounds that Williams had been found guilty by a jury as opposed to pleading to a
 conspiracy count identical to the one in this case. The jury had not been asked if the
 conviction was for the cocaine or the crack cocaine. On that basis, Judge Currie found
 Williams was eligible to move under § 404. Id. at *2. Because she had “originally
 fashioned a sentence as a whole for all convictions,” Judge Currie held Williams’s
 eligibility on Count 1 “means the court has the authority and discretion to unbundle the
 sentence and re-sentence on all counts.” Id.
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 deciding Richardson was eligible for a sentence reduction under § 404, Judge Joseph

 Anderson wrote:

               Here, the record before this court plainly indicates that the
               defendant did not acknowledge responsibility for more than
               50 grams of powder cocaine. The FBI case agent did not
               attribute 50 grams or more of powder cocaine to the
               defendant. And this court, in explaining the essential
               elements of the offense charged, made it clear to the
               defendant that he could be guilty by conspiring to distribute
               the required amount of either powder or crack cocaine.
               Because the record in this case clearly shows that the defendant’s sentence
               was driven by his involvement with crack cocaine and not the requisite
               50 grams of powder cocaine, the defendant is entitled to relief under the
               First Step Act.

 Id. at *3 (emphasis added).

        Unlike Richardson, the Mack defendants were found by the jury to have

 trafficked in the requisite amount of powder cocaine. But the court’s reasoning is

 nuanced: the court acknowledges that by its nature, 21 U.S.C. § 841(a)(1) is violated by

 distribution of one or the other drug. And the court looked to the record for what

 drove the sentence.

        As will be discussed, a substantial number if not most of the multitude of first-

 stab-at-the-First-Step-Act cases turn on whether the district judge construes eligibility

 under a quantity approach or a “covered statute” approach. In its papers and at

 argument, the government has fronted the “powder question” as the main inquiry, but

 a proper analysis requires that the Court decide whether the drug quantities attributable

 to the Mack defendants, or their violation of 21 U.S.C. § 841, determines their eligibility.

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 IV.   Defendants Are Eligible for a Sentence Reduction Under Section 404

       A.     Eligibility Depends Upon the Statute the Defendant Violated, Not
              What the Defendant Did to Violate It

       The Court is satisfied that the cases that look to eligibility for reduced sentence

 under the First Step Act as tied to the statute of conviction are persuasive. Any other

 conclusion ignores how the statute is written—broadly, and what its intent is—

 remedial.

       Going back to the text, § 404 applies the Fair Sentencing Act to already sentenced

 offenders who committed offenses before August 3, 2010, and did not have the benefit

 of the reduced statutory penalties for cocaine offenses. The first paragraph defines

 what a covered offense is: “a violation of a Federal criminal statute, the statutory

 penalties for which were modified by” the Fair Sentencing Act.

              (a) DEFINITION OF COVERED OFFENSE.—In this
              section, the term “covered offense” means a violation of a
              Federal criminal statute, the statutory penalties for which
              were modified by section 2 or 3 of the Fair Sentencing Act
              of 2010 (Public Law 111–220; 124 Stat. 2372), that was
              committed before August 3, 2010.

       The second paragraph sets forth how the statute works for the benefit of persons

 already serving a cocaine sentence, authorizing a court that “imposed a sentence for a

 covered offense” to “impose a reduced sentence as if sections 2 and 3 of the Fair

 Sentencing Act”—the sections that changed the statutory mandatory minimums

 penalties for crack cocaine offenses—were in effect when the sentenced defendant

 committed the covered offense.
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               (b) DEFENDANTS PREVIOUSLY SENTENCED.—A
               court that imposed a sentence for a covered offense may, on
               motion of the defendant, the Director of the Bureau of
               Prisons, the attorney for the Government, or the court,
               impose a reduced sentence as if sections 2 and 3 of the Fair
               Sentencing Act of 2010 (Public Law 111–220; 124 Stat.
               2372) were in effect at the time the covered offense was
               committed.

       The limitations on the foregoing are, as indicated above, the timing of the offense

 —before August 3, 2010, and whether a defendant has already benefitted from Fair

 Sentencing Act relief or was denied First Step Act relief “after a complete review of” a

 previous motion under § 404. And getting a reduced sentence is not automatic: the

 grant of authority to the sentencing court to reduce a sentence is permissive, not

 obligatory.

               c) LIMITATIONS.—No court shall entertain a motion
               made under this section to reduce a sentence if the sentence
               was previously imposed or previously reduced in accordance
               with the amendments made by sections 2 and 3 of the Fair
               Sentencing Act of 2010 (Public Law 111–220; 124 Stat.
               2372) or if a previous motion made under this section to
               reduce the sentence was, after the date of enactment of this
               Act, denied after a complete review of the motion on the
               merits. Nothing in this section shall be construed to require
               a court to reduce any sentence pursuant to this section.

       One searches in vain for an indication that “a covered offense” means “what an

 individual defendant did.” A covered offense is “a violation of a Federal statute, the

 statutory penalties for which” were changed by the Fair Sentencing Act.             The

 defendant’s “covered offense” is the violation of a specified category of Federal

 statutes, a clearly stated category characterized by the historic fact that the Fair
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 Sentencing Act changed the statutory penalties. The express “limitations” on eligibility

 have to do with the time of the offense and whether a sentenced offender already

 received the benefit of the Fair Sentencing Act or the First Step Act. And the last

 sentence in the “limitations” paragraph is significant (and arguably the greatest

 limitation of all): nothing in the First Step Act requires that an eligible defendant gets

 relief. He or she is getting a remedy for the unavailability of the lowered statutory

 penalties—a consideration of the sentence in the present with the lowered statutory

 penalties in mind. “Nothing” in the First Step Act “require[s]” a judge to reduce “any

 sentence” pursuant to § 404.

        In Rose, 379 F. Supp. 3d 223, Judge Valerie Caproni painstakingly examined the

 argument that eligibility must be tied to drug quantity, and held that it relied on two

 incorrect “interpretative choices”: first, that the “dependent clause, ‘the statutory

 penalties for which were modified by section 2 or 3 of the Fair Sentencing Act of 2010’

 . . . , modif[ies] the noun ‘violation,’ rather than modifying the phrase ‘Federal criminal

 statute’”; and second, that the term violation “mean[s] the actual conduct underlying

 the offense, rather than the elements of the offense.” Id. at 228.

        Judge Caproni rejected the government’s first “interpretative choice” by holding

 that “penalties” modifies the phrase “Federal criminal statute,” not the noun

 “violation,” and thus evinces a clear intent that eligibility turns on the statute underlying

 a defendant’s conduct.



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               Here, the “penalties” clause is most naturally read as
               modifying “Federal criminal statute,” the noun phrase
               immediately next to it. See id. Indeed, Congress appears to
               have deliberately inserted “Federal criminal statute” after the
               word “violation” and added the word “statutory” before the
               word “penalties” to achieve this exact result. If the
               Government’s interpretation were correct, Congress could
               have straightforwardly legislated that result by omitting from
               § 404(a) the phrase “Federal criminal statute,” which is
               already implied by the reference to the Fair Sentencing Act,
               and the adjective “statutory” before the noun “penalties.”
               Section 404(a) would then have read: “the term ‘covered
               offense’ means a violation, the penalties for which were
               modified by section 2 or 3 of the Fair Sentencing Act of
               2010.” But that is not what Congress did. Instead, it inserted
               two otherwise unnecessary references to federal statutes,
               making clear that eligibility is determined by the statute(s)
               underlying the defendant’s conviction and penalty, not the
               defendant’s offense conduct.

 Id. at 228.   Judge Caproni reasoned that the use of the past tense “modified”

 “confirm[ed] that the clause was intended to modify ‘statute,’ not ‘violation.’” Id. at

 229. That is, “[b]ecause the Fair Sentencing Act was not retroactive, it could not have

 ‘modified’ any penalties imposed for violations ‘committed before August 3, 2010.’

 Rather, the only ‘statutory penalties’ that the Fair Sentencing Act could have modified

 were the crack-cocaine penalties provided in the Controlled Substances Act.” Id.

 (footnote omitted).

       As to the government’s second “interpretative choice,” Judge Caproni observed

 that “even if the dependent clause could be construed as modifying ‘violation,’ it is at

 least ambiguous whether ‘violation’ refers to the elements of the statute of conviction

 or the offense conduct [and] [t]hat ambiguity must be resolved in the defendant’s
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 favor.” Id. To find otherwise would defeat the remedial purpose of the Fair Sentencing

 Act and First Step Act to “mitigat[e] the unfairness created by the crack-to-powder

 cocaine ratio.” Id. Thus Judge Caproni concluded that “the statutes should be

 construed in favor of broader coverage” and a court must read the unequivocal plain

 language of § 404(a) to tie eligibility to the penalties of the statute under which a

 defendant was convicted rather than drug weight. Id.

       Many if not most courts have reached the same conclusion, first expressed in

 depth in Judge Robert Jonker’s decision in Boulding, 379 F. Supp. 3d 646. See also, e.g.,

 United States v. Laguerre, No. 02-30098-3, 2019 WL 861417, at *3 (W.D. Va. Feb. 22,

 2019) (noting that the parties agreed that defendant was eligible under the First Step

 Act because, among other things, the statutory penalties of his offense were lowered by

 Section 2 of the Fair Sentencing Act); United States v. Allen, No. 96-00149, 2019 WL

 1877072, at *3 (D. Conn. Apr. 26, 2019) (“Under the plain language of [this section],

 whether an offense is a ‘covered offense’ is determined by examining the statute that

 the defendant violated.” (citation and internal quotation marks omitted)); United States

 v. Barber, No. 09-207-04, 2019 WL 2526443, at *2 (D.S.C. June 19, 2019) (“It is the

 statute of conviction, not actual conduct, that determines eligibility for relief under the

 First Step Act.”); Johnson, 2019 WL 2590951, at *3 (“The statute that Johnson violated

 is one for which the statutory penalties were modified by section 2 or 3 of the Fair

 Sentencing Act. Therefore, Johnson’s offense is ‘covered’ under the First Step Act, and

 he is eligible for a sentence reduction.”); Valentine, 2019 WL 2754489, at *5 (Jonker, J.)
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 (“‘[E]ligibility under the language of the First Step Act turns on a simple, categorical

 question: namely, whether a defendant’s offense of conviction was a crack cocaine

 offense affected by the Fair Sentencing Act.’” (quoting Boulding, 379 F. Supp. 3d at

 651)); United States v. Lutcher, No. 03-338, 2019 WL 3006414, at *3 (E.D. La. July 10,

 2019) (“The Court concludes that the determination of eligibility for a sentence

 reduction under Section 404 of the First Step Act should be based on the offense of

 conviction.”); United States v. Henderson, No. 05-60040, 2019 WL 3211532, at *4 (W.D.

 La. July 15, 2019) (“[T]he First Step Act indicates Congress’ intent to tie eligibility to a

 defendant’s statute of conviction rather than his or her offense conduct.”). In United

 States v. White, No. 99-628-04, 2019 WL 3228335, at *2 n.1 (S.D. Tex. July 17, 2019)

 Judge Lee Rosenthal collected some 42 cases that have found that it is the statute of

 conviction that controls eligibility under § 404.

        This Court is satisfied that these decisions are sound, and holds that the Mack

 defendants may bring these motions under § 404. The thrust of that section of the First

 Step Act is sentence reform; eligibility springs from a “covered offense,” not from being

 a “covered offender.” There is no dispute that well before August 3, 2010, these

 defendants violated 21 U.S.C. § 841(a)(1) which is a covered offense because its

 mandatory minimum penalties in 21 U.S.C. § 841(b)(1)(A) were changed by the Fair

 Sentencing Act. The defendants’ offense conduct is relevant to whether their sentences

 will be reduced, as opposed to whether they may move for a sentence reduction.



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       B.     Defendants’ Eligibility is Unchanged by Their Conviction for
              Trafficking in a Penalty Triggering Quantity of Powder Cocaine

       Having found that First Step Act relief is tied to the statute of conviction, the

 Court must decide if the quantity of powder cocaine charged and found against these

 defendants destroys their eligibility for § 404 sentencing relief, as the government

 argues. There are several reasons for rejecting this position.

       First is the simple fact that the Fair Sentencing Act did change the statutory

 penalties of 21 U.S.C. § 841(b)(1)(A). Second, the First Step Act does not restrict the

 “covered” “Federal criminal statute[s]” by suggesting “as applied.” Third, harking back

 to Richardson, this Court is entitled to look at what drove the original sentence in this

 case—the successful prosecution of these defendants as dealers in both types of

 cocaine, who throughout the conspiracy “cooked” powder cocaine into crack. Isolating

 defendants’ powder cocaine offense conduct as dispositive ignores the powerful facts

 that the government witnesses regularly intermingled these defendants’ acquisitions and

 sales of powder and crack cocaine; that large portions of their crack sales were what

 they cooked out of the powder cocaine they purchased; and that the quantity of crack

 cocaine calculated against these defendants drove their punishment all by itself.

       The Mack defendants’ presentence reports uniformly determined drug weight

 according to a statement of facts U.S. Probation requested and received from the

 government. The offense conduct described a “firmly entrenched” and successful drug

 operation. “The organization primarily sold cocaine and cocaine base . . . from various

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 buildings, alley ways, and backyards” in Plainfield, New Jersey. The main cooperator

 against the Mack defendants, identified as the “primary courier for the organization,”

 testified that he traveled to New York City “to purchase cocaine and crack cocaine” for

 the “members of the organization,” who are described as purchasing “large quantities

 of cocaine in New York City” that were later “cooked” into crack cocaine. This witness

 was first arrested in connection with a controlled buy of 108 grams crack cocaine that

 was set up by the DEA. Eventually, law enforcement established that these defendants

 and others “were involved in the distribution of cocaine and crack cocaine” in New

 Jersey and North Carolina. Trial testimony from another cooperator described Jesse

 Opher as cooking ounces of cocaine into crack cocaine and then packaging the crack

 into bottles.   According to a cooperator, between 1995 and 1997 he purchased

 approximately 2 kilograms of crack cocaine from Ronald Mack. Other witnesses

 described large purchases of cocaine.

       Overall, the government’s version of their offense conduct as set forth in the

 presentence reports lumps together powder cocaine and crack cocaine purchases and

 sales as the essence of the Mack defendants’ longstanding drug operation. The interplay

 of crack cocaine and powder cocaine activity is further described in the section of role

 adjustments. Rodney Mack is identified as the leader and organizer. “He managed and

 organized the distribution of the drugs. Rodney Mack was also the primary ‘owner’ of

 the drugs and was responsible for storing the drugs, reprocessing, and repackaging the

 drugs.” He determined where drug sales occurred and directed that drugs were sold
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 from only one location at any point in time. Jesse Opher was “the primary ‘cook’ for

 the organization and utilized various locations to store and manufacture cocaine.”

          When defense counsel argued that there were two “object offenses” of the

 charged conspiracy and one of them was distribution of crack cocaine, she was correct.

 What the presentence reports demonstrate is that you cannot have one without the

 other.

          But at sentencing it quickly emerged that the highest base level for the drug

 offenses was easily and promptly reached by the weight of the crack alone. Ronald

 Mack was sentenced first. The government argued the starting base offense level was

 38, as found by U.S. Probation.

                I think clearly the drug quantity should be as found by
                probation, that is a[t] Level 38. I don’t think there’s any
                dispute that this was a long running long standing drug
                operation which was involved in enormous amounts of both
                powder cocaine and crack cocaine.

                The testimony was clear from the evidence in addition to lab
                reports that we were dealing with both powder cocaine and
                cocaine base. Testimony of the witnesses, in particular
                George Hardison and Lateef Taylor, clearly disclose that
                substance. In addition, I might say the North Carolina
                witnesses clearly identify the substance that was involved in
                at least part of this conspiracy as crack cocaine.

                George Hardison was a user of crack cocaine, so he among
                most of the other witnesses should have know[n] the type of
                substance it is that he was using. So I think it is clear and
                conceded by the defense that offense level for the drug
                quantities should be 38.

 (4/17/02 Tr. at 18:25-19:17.)
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        Rodney Mack was the last to be sentenced. By that time, the understanding that

 the crack cocaine drove the sentencing range was embedded in colloquy among the

 Court, the defense, and the prosecution. From the government:

                I do point out, based on the probation report, that the
                findings with regard to the kilograms of cocaine base in and
                of itself would fin[d] – would support a level 38, regardless
                of the heroin or the powder cocaine.

 (4/23/02 Tr. at 15:13-16.)

        Excising the powder from the crack is wrong; the government never did so up

 until now, as the foregoing demonstrates. Finding these defendants eligible does not

 write off their responsibility for dealing in powder cocaine as well as dealing in crack

 cocaine. That constitutes a fact that bears on what relief these defendants are entitled

 to. What the Court finds now is that the jury’s verdict does not disqualify the Mack

 defendants from consideration under § 404.

        Finally, while the Court is satisfied that the foregoing discussion provides ample

 basis for its ruling on eligibility, there are other reasons for this conclusion based on the

 significant differences between process under § 404 and process under the Fair

 Sentencing Act.

        The Commission has explained that under § 404 of the First Step Act “[a]ny

 defendant sentenced before the effective date of the Fair Sentencing Act (August 3, 2010)

 who did not receive the benefit of the statutory penalty changes made by the [Fair

 Sentencing] Act is eligible for a sentence reduction under the First Step Act.” Special Edition at 4

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 (emphasis added). Indeed, unlike the early rounds of retroactive crack sentencing relief,

 the First Step Act does not impose any extrinsic limits on a sentencing court. Boulding,

 379 F. Supp. 3d at 653. As Judge Jonker observed:

              These earlier rounds of retroactive reduction proceeded
              under 18 U.S.C. § 3582(c)(2) based on Sentencing
              Commission guideline reductions, and were therefore
              subject to the limitations built into that section. The First
              Step Act is different. The Sentencing Commission has
              nothing to do with it. Rather, Congress has directly
              authorized the possible reduction under 18 U.S.C. §
              3582(c)(1)(B). Under that section a “court may modify an
              imposed term of imprisonment to the extent otherwise
              expressly permitted by statute or by Rule 35 of the Federal
              Rules of Criminal Procedure.” Id. Because the First Step Act
              expressly permits courts to modify a term of imprisonment,
              the First Step Act serves as the basis for relief under Section
              3582(c)(1)(B).

 Id.

       Two points bear mentioning here. Judge Jonker points out that the Commission

 “has nothing to do with” the First Step Act. Id. The Commission acknowledges that

 by explaining “[t]he Act does not contain any directives to the Commission requiring

 action.” Special Edition at 5. And Boulding’s reference to 18 U.S.C § 3582(c)(1)(B) 7 is

 significant because the sweep is broader and unhampered by a tie-in with the guideline

 sentencing range, permitting modification to the extent “expressly permitted by

 statute.” In contrast with the restrictions in § 3582(c)(2), the only limits placed on the


 7
   During oral argument, the parties agreed that, if the Court finds that the Mack
 defendants are eligible under the First Step Act (and it has), any sentence reduction
 would be governed by § 3582(c)(1)(B).
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 Court under the First Step Act are “the statutory minimums of the Fair Sentencing

 Act’s new thresholds.” Boulding, 379 F. Supp. 3d at 653. Thus, unlike earlier rounds of

 sentence reductions, the guidelines, while they should inform a court’s discretion, do

 not limit it. Id.

        The First Step Act, while directing broad-based initiatives affecting all sentenced

 offenders, aims in § 404 to capture all those defendants—such as the Mack

 defendants—who were excluded from the Fair Sentencing Act. Section 404 is about

 “sentencing reform” and looks to that forgotten group of offenders serving sentences

 under guidelines deemed now, and as far back as 2010, to be overly harsh. The relief

 offered under the First Step Act is a second look at those sentences, which these

 defendants are eligible for.

 V.     Resentencing Procedure

        As indicated above, First Step Act decisions vary considerably in the type of

 proceedings that generated the various rulings. What has become a special focus is the

 jurisprudence animating a decision, whether made on the papers or in a contested

 proceeding with the defendant present and allocuting. Specifically, will a defendant get

 the benefit of the Supreme Court’s constitutional holdings in United States v. Booker, 543

 U.S. 220 (2005) and Alleyne v. United States, 570 U.S. 99 (2013), which extended the

 principles announced in Apprendi v. New Jersey, 530 U.S. 466 (2000) to mandatory

 minimum sentences? These are rulings that have led to what is frequently called “a sea

 change” in the sentencing regime. The government argues in its papers and at oral
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 argument that this decisional law is not available to the Mack defendants because

 “Section 404 allows imposition of a reduced sentence as if the Fair Sentencing Act ‘were

 in effect at the time the covered offense was committed.’” (D.E. 556 at 5.) In other

 words, the government contends that § 404 requires a Court to shift its sights back in

 time and adhere to the sentencing jurisprudence in effect when a defendant was

 originally sentenced. The Court disagrees.

        The government correctly notes that the Supreme Court sentencing

 jurisprudence at issue here is not retroactive on collateral review. United States v. Reyes,

 755 F.3d 210, 212 (3d Cir. 2014); In re Olopade, 403 F.3d 159, 164 (3d Cir. 2005). If the

 government is correct that this jurisprudence must, as a corollary, be ignored, then the

 Court lacks discretion to consider the guidelines advisory rather than mandatory and

 must put aside Booker’s signature holding. See United States v. Merced, 603 F.3d 203, 213

 (3d Cir. 2010) (“Booker held unconstitutional that portion of the Guidelines that made

 them mandatory . . . .” (citation and internal quotation marks omitted)). But while a

 sentence reduction is a form of collateral review, see Wall v. Kholi, 562 U.S. 545, 551-52

 (2011) (agreeing that collateral review includes motions to reduce sentence), § 404

 creates a remedial procedure that is wholly distinct and not bound by the same

 restrictions as a collateral attack on a sentence. It is not fixing a mistake; it is requiring

 a review.

        Unlike prior sentence reductions under 18 U.S.C. § 3582(c)(2), “[S]ection 404(b)

 of the First Step Act contains a broader grant of authority to ‘impose a reduced sentence as
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 if sections 2 and 3 of the Fair Sentencing Act of 2010’ were in effect.” United States v.

 Dodd, 372 F. Supp. 3d 795, 797 (S.D. Iowa 2019) (emphasis added). As Judge Robert

 Pratt observed in Dodd, the fact that, under 18 U.S.C. § 3582(c)(2), Supreme Court

 sentencing jurisprudence “do[es] not trigger a right to relief retroactively on collateral

 review, is distinct from whether [it] appl[ies] to proceedings independently authorized

 [by Congress] under the First Step Act.” Dodd, 372 F. Supp. 3d at 798 (citation omitted).

 Critically, in creating the First Step Act’s independently authorized procedures, a court

 must presume that Congress legislated in light of current constitutional requirements.

 See Henderson, 2019 WL 3211532, at *4 n.8 (rejecting the argument that, because

 Congress did not expressly authorize retroactive application of Alleyne under the First

 Step Act, it does not apply); United States v. Stanback, 377 F. Supp. 3d 618, 623 (W.D.

 Va. 2019) (“Congress, when drafting the First Step Act in 2018, surely did not intend

 for courts to disregard the last six years of Supreme Court federal sentencing

 jurisprudence and this court declines to do so.”). To find otherwise would mean that

 Congress legislated without regard to constitutional norms, which is a conclusion courts

 have consistently rejected. See, e.g., Dodd, 372 F. Supp. 3d at 797-98 (concluding that,

 because Apprendi and Alleyne are binding on the court today, they apply to sentence

 reductions under the First Step Act); United States v. Graves, No. 04-070, 2019 WL

 3161746, at *2 (E.D. Tenn. July 15, 2019) (“The First Step Act neither directs nor

 implies that the Court should perpetuate the application of an unconstitutional practice

 when determining a new sentence that complies with the Act’s directives, and many
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 courts faced with the issue have applied the Apprendi rule in First Step Act re-

 sentencings.” (citation and internal quotation marks omitted)); United States v. VanBuren,

 No. 00-00066-1, 2019 WL 3082725, at *3 (W.D. Va. July 15, 2019) (“[T]his Court joins

 others in this district finding the holdings of Apprendi and Alleyne applicable in the First

 Step context with respect to whether the statutory penalties have been modified.”);

 Wright v. United States, No. 95-39, 2019 WL 3046096, at *5 (E.D. Va. July 11, 2019)

 (“Therefore, the Court finds that because Congress decided to apply the FSA

 retroactively through the FIRST STEP Act, the relevant sentencing precedents of

 Booker and its progeny must be considered in imposing the new reduced sentences.”).8

        Above all, application of subsequent Supreme Court sentencing jurisprudence to

 the Mack defendants through § 404 does not disturb the principles underpinning the

 doctrine of non-retroactivity for new constitutional rules. As the Supreme Court

 explained in Danforth v. Minnesota, 552 U.S. 264, 280 (2008), the “rule of nonretroactivity

 was fashioned to achieve the goals of federal habeas while minimizing federal intrusion

 into state criminal proceedings.” See also United States v. Jones, No. 08-00040, 2019 WL

 3074075, at *2 (W.D. Va. July 15, 2019) (“Thus, a determination under Teague that a


 8
   In fact, the government has conceded in another district that a First Step Act
 defendant sentenced pre-Booker should benefit from subsequent changes in sentencing
 law. See United States v. Newton, No. 02-30020, 2019 WL 1007100, at *4 (W.D. Va. Mar.
 1, 2019) (noting that, for a First Step Act defendant originally sentenced in 2003, the
 “government agrees that the court should recalculate the advisory guideline range under
 current law, and pursuant to the now-operative version of the United States Sentencing
 Guidelines, assess the Section 3553(a) factors based on the facts in the record and issue
 a new sentence”).
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 rule is not retroactive on collateral review ‘speaks only to the context of federal habeas.’”

 (quoting Danforth, 552 U.S. at 281)). Section 404 does not create even the specter of a

 federal invasion into state criminal proceedings because it only affects a very limited

 class of offenders convicted of a subset of federal drug offenses. For those reasons,

 the Court finds that, in deciding whether to exercise its discretion to reduce the Mack

 defendants’ sentences pursuant to § 404, it must consider current constitutional

 requirements for sentencing.

        Finally, the Mack defendants shall be present at the resentencing. One important

 reason is the Supreme Court’s holding that district courts “may consider evidence of a

 defendant’s postsentencing rehabilitation at resentencing and such evidence may, in

 appropriate cases, support a downward variance from the advisory Guidelines range.”

 Pepper v. United States, 562 U.S. 476, 504–05 (2011). The Court is entitled to question

 each man about the significance of his participation in programs over the years of

 confinement. Each man in turn is entitled to speak at such an important time—after

 all, a hearing offers the opportunity to be heard.

        Judge John E. Jones, III, observed in his Order in United States v. Rhines, No. 01-

 00310 (M.D. Pa. June 3, 2019), ECF No. 355, that “[g]iven the . . . changes in

 jurisprudence and legislation, we find that it would be fundamentally unfair to deny [a

 First Step Act defendant] a full resentencing hearing.” Id. at 4; accord Order at 7, United

 States v. Loner, No. 00-00050 (M.D. Pa. July 8, 2019), ECF No. 370 (Jones, J.). This

 Court agrees. In fact, while the government has not backed away from its eligibility
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 arguments, the parties do not appear very far apart on how a resentencing might

 proceed. At oral argument, the Court asked the defense:

             [Y]ou are also talking about the sentencing regimen that
             encompasses three steps: What do the guidelines say?

             Are there any motions made under the guidelines?

             Is the net sentence after considering any motions made after
             the guidelines sufficient and not more than necessary to
             accomplish the statutory purposes of sentencing?

             That is what you are talking about?

             MS. ARKEL: Yes.

             THE COURT: Okay. And you are saying that the court has
             in terms of written submissions with the exception of
             updates from the BOP as to the performance of the
             defendants since 2017. And that added to that would be the
             defendant’s presence, personal statements being made --

             MS. ARKEL: Yes.

             THE COURT: -- and any letters in support?

             MS. ARKEL: Yes, Your Honor

             THE COURT: All right. That is the scope of any hearing
             that you would be looking for if I find eligibility; is that it?

             ....

             MS. ARKEL: Yes.

             THE COURT: All right.

             Let’s hear from you, Mr. Coyne.



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               MR. COYNE: Sure. So maybe there is an area of agreement
               between at least my friend and me that there is not a
               recalculation of the guidelines range as part of a sentence
               reduction proceeding under the First Step Act.

               I think Louise, I heard her saying, in essence, we are not
               looking for that. We are asking you to consider a[t] stage two,
               are there any departures that are warranted, and stage three,
               the 3553(a) factors.

 (6/21/19 Tr. at 79:23-81:5.)
         Certainly, to individualize themselves in the context of the § 3553(a) factors, as

 any defendant facing sentence is entitled to, the defendants must be present. Even

 before Booker, Chief Judge Edward Becker wrote for the Third Circuit about the

 importance of the encounter between the defendant and the sentencing judge in United

 States v. Faulks, 201 F. 3d 208 (2000). “In our view, the notion that the sentencing court

 must ‘eyeball’ the defendant at the instant it exercises its most important judicial

 responsibility, whose daunting character has not been eliminated by the Sentencing

 Reform Act and the Sentencing Guidelines, is far from a formality. Rather, it is the

 embodiment of a value deeply embedded in our polity (and our jurisprudence).” Id. at

 209.9




 9
  The opportunity to address the Court will be a meaningful one. Before their sentences
 to Life were imposed, the Macks and Jesse Opher had little to say that could affect their
 sentences. Ronald Mack thanked his family for “coming here and being here for me.”
 (4/17/02 Tr. at 32:25.) Rodney Mack, the last one sentenced, did not speak.
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 VI.   Conclusion

       The Court finds Ronald Mack, Rodney Mack, Jesse Opher, and Hassan Hawkins

 are eligible to move for reduced sentences under § 404 of the First Step Act. U.S.

 Probation shall prepare supplemental presentence reports and sentencing dates shall be

 set at which the defendants shall appear.

                                                  /s/ Katharine S. Hayden
                                                  Katharine S. Hayden, U.S.D.J.




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